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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF DELAWARE


 Christina Moore,                                 Civil Action No. 1:17-cv-01313-GMS

                         Plaintiff,



           – against–



 Chase Bank USA, National Association and
 Trans Union LLC,

                         Defendant(s).


    NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND TRANS UNION LLC

       PLEASE TAKE NOTICE that all matters herein have been compromised and settled as

between Plaintiff and Defendant, Trans Union LLC (“Trans Union”). Plaintiff intends on filing a

Stipulation of Dismissal with Prejudice and Proposed Order as to Trans Union LLC, once the

settlement is consummated.

                                      Respectfully submitted,

                                      s/ Antranig N. Garibian___
                                      Antranig N. Garibian
                                      Garibian Law Offices, P.C.
                                      1010 Bancroft Parkway, Suite 22
                                      Wilmington, DE 19805
                                      Telephone: 215-326-9179
                                      Email: ag@garibianlaw.com
                                      Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement Between

Plaintiff and Trans Union LLC has been filed electronically. Notice of this filing will be sent to

the following parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s electronic filing.

       Blake A. Bennett, Esq.
       Cooch & Taylor, P.A.
       1000 West Street, 10th Floor
       P.O. Box 1680
       Wilmington, DE 19801
       Telephone: (302) 984-3800
       E-Mail: bbennett@coochtaylor.com
       Counsel for Defendant Trans Union, LLC

       Colin C. Poling, Esq.
       Schuckit & Associates, P.C.
       4545 Northwestern Drive
       Zionsville, IN 46077
       Telephone: (317) 363-2400
       E-Mail: cpoling@schuckitlaw.com
       Admitted Pro Hac Vice

                                       Respectfully submitted,

                                       s/ Antranig N. Garibian________
                                       Antranig N. Garibian
                                       Garibian Law Offices, P.C.
                                       1010 Bancroft Parkway, Suite 22
                                       Wilmington, DE 19805
                                       Telephone: 215-326-9179
                                       Email: ag@garibianlaw.com
                                       Counsel for Plaintiff
